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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA




JOHNSON & JOHNSON HEALTH CARE
SYSTEMS INC.,

                    Plaintiff,

       v.

ROBERT F. KENNEDY, JR., in his official
capacity, and U.S. DEPARTMENT OF HEALTH
                                                     Civil Action No. 1:24-cv-3188
AND HUMAN SERVICES,

and

THOMAS J. ENGELS, in his official capacity, and
HEALTH RESOURCES AND SERVICES
ADMINISTRATION,

                    Defendants.



             PLAINTIFF’S RESPONSE TO PROPOSED INTERVENORS’
                  NOTICE OF SUPPLEMENTAL AUTHORITY
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       Plaintiff Johnson & Johnson Health Care Systems Inc. (“J&J”) respectfully submits this

response to the notice of supplemental authority filed by 340B Health, UMass Memorial Medical

Center, and Genesis HealthCare System (“Proposed Intervenors”), ECF No. 36, concerning a

March 4, 2025 decision granting their intervention in four partially consolidated cases before Judge

Dabney L. Friedrich, e.g., Order, Eli Lilly & Co., et al. v. Kennedy, et al., No. 24-cv-3220 (D.D.C.

Mar. 4, 2025), ECF No. 33.

       On January 30, 2025, Proposed Intervenors filed their motion seeking to intervene in this

matter as of right under Federal Rule of Civil Procedure 24(a), or, in the alternative, on a

permissive basis under Rule 24(b). ECF No. 14. In their motion, Proposed Intervenors claim that

they have standing to intervene and a protected interest in this litigation because they would be

“significantly harmed by the time and expenses incurred if they are forced to comply with

Plaintiff’s proposed rebate model, and because of the harm that the shortage of funds will cause

their patients and the communities they serve.” Id. at 4.1

       Judge Friedrich’s March 4, 2025 decision appears to credit those assertions, finding that

“[s]hould the plaintiffs implement their 340B drug plan, member hospitals would incur additional

upfront costs to pay the full sticker prices for the 340B drugs,” which would require them “to divert

resources from other programs to pay the initial upfront costs.” Order at 3-4, Eli Lilly & Co., No.

43-cv-3220 (D.D.C. Mar. 4, 2025), ECF No. 33. Judge Friedrich found that:

       Because the successful disposition of the plaintiffs’ suit would necessarily result in the
       implementation of the rebate model with associated economic harms to 340B Health’s
       members—including Genesis and UMass—340B Health has sufficiently alleged an injury
       in fact fairly traceable to the plaintiffs’ requested relief and redressable by a judicial
       decision denying such relief. Thus, 340B Health’s members would—and do—have Article
       III standing to intervene in their own right.



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 These claims were premised on affidavits submitted in support of the motion and did not rely
on materials included in the Administrative Record in this case.
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Id. at 4 (citation omitted).

         J&J respectfully refers the Court to the Administrative Record in this case, which contains

evidence that J&J’s Rebate Model would not impose substantial new financial or administrative

burdens on covered entities. See AR59-AR60, AR75-AR77, AR86, AR193, AR208, AR242-

AR2432 (reflecting that the Rebate Model would utilize standard claims data that covered entities

already collect in the normal course of business and data elements that covered entities currently

submit to payers in the reimbursement process); AR59, AR62, AR75, AR95, AR198, AR199,

AR208-AR209, AR244 (explaining that covered entity claims will be processed and rebates will

be paid within seven to ten days of claim submission under J&J’s Rebate Model as proposed, such

that covered entities that file timely claims data for eligible sales should receive 340B pricing

before payment is due to the wholesaler under standard payment terms).

         Consistent with the Administrative Record before the Court, J&J maintains that covered

entities would not suffer unreasonable economic harm from the loss of upfront price reductions on

340B-eligible sales, nor incur substantial administrative burdens, if J&J were to implement its

Rebate Model. J&J respectfully requests that the Court take into consideration the Administrative

Record’s countervailing evidence to Proposed Intervenors’ extra-record claims when adjudicating

their motion to intervene.




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    “AR” citations refer to the Administrative Record produced by Defendants, ECF No. 17.


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DATED: March 5, 2025


                                   Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I certify that on March 5, 2025, I filed the foregoing with the Clerk of the Court using

the ECF System, which will send notification of such filing to the registered participants

identified on the Notice of Electronic Filing.

                                                 /s/ Jeffrey L. Handwerker
                                                 Jeffrey L. Handwerker
